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     Attorneys for Plaintiff
 7   MANDANO MELLANO
 8                                    UNITED STATES DISTRICT COURT
 9                                  CENTRAL DISTRICT OF CALIFORNIA
10
11   MANDANA MELLANO.                                    )   CASE NO.: CV 17-5526-JFW (Ex)
                                                         )
12                  Plaintiff,                           )   [Assigned for all purposes to the Hon. John F.
                                                         )   Walter, Courtroom 7A]
13          vs.                                          )
                                                         )   PLAINTIFF’S NOTICE OF MOTION AND
14   FALLON GROUP, INC. and MICHAEL                      )   MOTION FOR LEAVE TO FILE AMENDED
     BUCHNER, and DOES 1 through 10, inclusive,          )   COMPLAINT
15                                                       )
                    Defendants.                          )
16                                                       )
                                                         )
17                                                       )
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21          PLEASE TAKE NOTICE THAT on March 5, 2018 at 1:30 p.m., or as such other date/time as the

22   Court may order, at Courtroom 7A of the above entitled court located at 350 W. First Street, Los Angeles,

23   California 90012, Plaintiff Mandana Mellano will and hereby does move for leave to file Plaintiff’s First

24   Amended Complaint (“FAC”).

25          The FAC adds two principal components to the original complaint. First, the FAC adds as

26   defendants Publicis Groupe, S.A., and Publicis Communications, Inc. (collectively referred to herein as

27   “Publicis”), which are parent and/or affiliate entities of Defendant Fallon Group, Inc.

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 1          Second, the FAC adds statutory gender discrimination and retaliation claims following Plaintiff’s

 2   receipt of Right to Sue Notices from the California Department of Fair Employment and Housing.
 3   Defendants’ have consented to this portion of the motion.

 4          This Motion is based on this Notice of Motion, the accompanying Memorandum of Law in support,
 5   the Declaration of Seth A. Rafkin and Exhibits thereto and the pleadings in this matter.
 6          This Motion is made following the conferences of counsel pursuant to L.R. 7-3, which took place
 7   on December 13, 2017 and January 29, 2018 and as described in the Declarations of lead counsel for the
 8   parties (Seth Rafkin and Elizabeth Murphy) as filed with the Court pursuant to its text entry order dated
 9   January 26, 2018.
10
     Dated: February 5, 2018                      RAFKIN ESQ. PLLC
11
12                                                By:
                                                      Seth A. Rafkin
13                                                    Jennifer M. Bogue
                                                  Attorneys for Plaintiff
14                                                MANDANA MELLANO
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